                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                               WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR04-4082-MWB
 vs.                                          REPORT AND RECOMMENDATION
                                                  ON HINMAN’S MOTION TO
 LARRY HINMAN, ANNA DOSE,                     DISMISS COUNTS 2 THROUGH 5 OF
 aka Ann Dose, and CARLA WEBER,                  THE SECOND SUPERSEDING
               Defendants.                              INDICTMENT

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        On May 6, 2005, the defendant Larry Hinman filed a new motion to dismiss
Counts 2 through 5 of the Second Superseding Indictment.        (Doc. No. 127)       The
undersigned issued a Report and Recommendation on all pending motions on April 22,
2005.     (Doc. No. 125)     In his newly-filed motion, Hinman, in essence, states the
undersigned failed to address one of the issues still outstanding, to-wit: whether Counts
2 through 5 of the Second Superseding Indictment should be dismissed for failure to state
an offense.   Hinman notes, correctly, that the Government included this issue as one
remaining for resolution following the return of the Second Superseding Indictment. The
Government described the issue as follows:
              Do the false statements counts (previous Counts 3-8, now
              Counts 2-5) adequately allege violations of 18 U.S.C. §§
              1001 and 1035?
(Doc. No. 97, at 3)
        In the undersigned’s prior Report and Recommendation, the undersigned concluded
the false statement counts properly alleged violations of 18 U.S.C. §§ 1001 and 1035.




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(See Doc. No. 88 at 19-21)          Hinman filed thorough objections to the undersigned’s
findings (Doc. No. 91), and the Government filed a thorough response to Hinman’s
objections (Doc. No. 93).
       For purposes of allowing the trial court to address all of the pending issues in a
single decision, the court restates the prior discussion and findings on this issue.   In the
discussion, the court will refer to the parties’ original briefs on the issue.     The issue
Hinman has raised remains the same as to the Second Superseding Indictment.


                            A. Law Applicable to Motions to Dismiss
       The Eighth Circuit Court of Appeals has considered the minimum requirements for
a sufficient indictment on numerous occasions. In United States v. Cuervo, 354 F.3d 969
(8th Cir. 2004), the court explained:
              “[A]n indictment is sufficient if it, first, contains the elements
              of the offense charged and fairly informs a defendant of the
              charge against which he must defend, and, second, enables
              him to plead an acquittal or conviction in bar of future
              prosecutions for the same offense.”           Hamling v. United
              States, 418 U.S. 87, 117, 94 S. Ct. 2887, 41 L. Ed. 2d 590
              (1974); see [United States v.] Dolan, 120 F.3d [856,] 864
              [(8th Cir. 1997)] (“To be sufficient, an indictment must fairly
              inform the defendant of the charges against him and allow him
              to plead double jeopardy as a bar to future prosecution.”).
              Typically an indictment is not sufficient only if an essential
              element of the offense is omitted from it. [United States v.]
              White, 241 F.3d [1015,] 1021 [(8th Cir. 2001)].
Cuervo, 354 F.3d at 983. See Bousley v. United States, 523 U.S. 614, 618, 118 S. Ct.
1604, 1609, 140 L. Ed. 2d 828 (1998) (“[T]he first and most universally recognized
requirement of due process” is that a defendant receive “real notice of the true nature of



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the charge against him.”) (quoting Smith v. O’Grady, 312 U.S. 329, 334, 61 S. Ct. 572,
574, 85 L. Ed. 859 (1941)).
       In the White opinion cited by the court in Cuervo, the Eighth Circuit noted,
“Usage of a particular word or phrase in the indictment is not required as long as we can
recognize a valid offense and the form of the allegation ‘substantially States the
element[s].’ . . .   In fact, we will find an indictment insufficient only if an ‘essential
element “of substance” is omitted.’” White, 241 F.3d at 1021 (quoting United States v.
Mallen, 843 F.2d 1096, 1102 (8th Cir. 1988)).         However, as Chief Judge Mark W.
Bennett noted in United States v. Nieman, 265 F. Supp. 2d 1017 (N.D. Iowa 2003):
              Although no particular words or phrases are necessarily
              required, “[i]t is well-established in this circuit that citation
              of the statute, without more, does not cure the omission of an
              essential element of the charge because bare citation of the
              statute ‘is of scant help in deciding whether the grand jury
              considered’ the missing element in charging the defendant.“
              [United States v.] Olson, 262 F.3d [795,] 799 [(8th Cir.
              2001)] (quoting United States v. Camp, 541 F.2d 737, 740
              (8th Cir. 1976), and also citing United States v. Zangger, 848
              F.2d 923, 925 (8th Cir. 1988)).
Nieman, 265 F. Supp. 2d at 1028 (quoting United States v. Johnson, 225 F. Supp. 2d
1009, 1015-16 (N.D. Iowa 2002) (footnote omitted)).      Judge Bennett explained the court
first must determine how the statutes and case law define the offenses charged in each
count of the indictment, and then must determine whether the counts of the indictment
adequately allege the offenses, as defined. Nieman, 265 F. Supp. 2d at 1029.
       The court will apply these standards to Hinman’s challenges to the Second
Superseding Indictment.




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                    Hinman’s Motion to Dismiss Counts 2 Through 5
       Hinman argues Counts 2 through 5 should be dismissed because they fail to allege
Hinman “intended that any falsification or concealment would bear a relation or a purpose
to some matter within the jurisdiction of any department or agency of the United States.”
(Doc. No. 57-2, pp. 15-16)          Hinman notes the indictment alleges he made false
representations to an inspector of the Iowa Department of Inspections and Appeals, but
fails to allege he knew the DIA inspector “had any relationship to, reported to or
provided information to any department or agency of the United States.”        (Id., p. 16)
Hinman states the applicable case law applies equally to the charges under both section
1001 and section 1035. (Id.)
       In support of his argument, Hinman cites Ebeling v. United States, 248 F.2d 429,
434 (8th Cir. 1957), and United States v. Popow, 821 F.2d 483, 486 (8th Cir. 1987).
Hinman describes the holdings of these cases as “clearly defin[ing] the offense prohibited
by 18 U.S.C. § 1001 to include an element that the defendant intended that the
falsification or concealment bear a relation or purpose as to some matter which is within
the jurisdiction of a department or agency of the United States.” (Doc. No. 57-2, p. 15)
       The Government argues Ebeling and Popow no longer represent current law in the
Eighth Circuit, citing United States v. Hildebrandt, 961 F.2d 116 (8th Cir. 1992), and
United States v. Yermian, 468 U.S. 63, 82 L. Ed. 2d 53, 104 S. Ct. 2936 (1984), for the
proposition that intent to deceive the Government, and knowledge that a false statement
is being made in connection with a matter under Government jurisdiction, are not
elements of an offense under section 1001.       The Government asserts it must prove only
that Hinman knowingly and willfully intended to make, or cause to be made, a false
statement. (Doc. No. 76, pp. 3-4)



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       Hinman responds that neither the Supreme Court in Yermian nor the Eighth Circuit
in Hildebrandt addressed whether it must be reasonably foreseeable to a defendant that
his false statements are related to a matter within Government jurisdiction.             (Doc. No.
74). The Government agrees with Hinman’s assertion, but points out that “every federal
court of appeals to have considered this issue since Yermian has concluded that no such
proof of foreseeability is necessary.”       (Doc. No. 76, p. 5, citing, e.g., United States v.
Green, 745 F.2d 1205, 1209 (9th Cir. 1984) (“We are persuaded that no mental state is
required with respect to federal involvement in order to establish a violation of section
1001.”); United States v. Bakhtiari, 913 F.2d 1053 (2d Cir. 1990) (finding Yermian
supports the conclusion that no “standard of jurisdictional awareness less than actual
knowledge” is required, and finding “no doubt that Congress – through § 1001 – acted
within its powers to criminalize the issuance of an intentionally false statement within the
jurisdiction of a federal department or agency, regardless of the defendant’s awareness
that the statement will be so delivered”).
       The court is persuaded by the reasoning in Bakhtiari and Green, and finds no
scienter requirement with regard to the jurisdictional awareness of a false statement. The
only intent the Government must prove the defendant had was the intent to make the false
statement. By alleging Hinman made a false statement, or caused a false statement to be
made, the indictment fairly apprises him of the conduct the Government alleges violated
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the statute.    Therefore, the court recommends Hinman’s motion to dismiss Counts 2
through 5 be denied.




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         Cf. Green 745 F.2d at 1211 (“A person who knowingly and willfully makes a false statement
cannot be deemed to have engaged in entirely innocent conduct.”) (citing United States v. Duncan, 693
F.2d 971, 976 (9th Cir. 1982); United States v. Carrier, 654 F.2d 559, 562 (9th Cir. 1981)).

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                                       CONCLUSION
       For the reasons stated above,    IT IS RECOMMENDED, unless any party files
objections to this Report and Recommendation as specified below, that Hinman’s motion
to dismiss Counts 2 through 5 of the Second Superseding Indictment be denied.
       Because the parties have fully argued and briefed this issue previously and,
presumably, can simply restate their previous arguments, the court finds no party will be
prejudiced by a very limited time frame for the filing of objections to this Report and
Recommendation. Accordingly, the parties must file objections by Wednesday, May 11,
2005, with any responses to objections being filed by Friday, May 13, 2004.
       IT IS SO ORDERED.
       DATED this 6th day of May, 2005.




                                          PAUL A. ZOSS
                                          MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




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